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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No. 14-cv-61572-BLOOM/Valle


  WADE GAINES KILPATRICK,
  individually and on behalf of others
  similarly situated,

         Plaintiffs,
  v.

  CARIBBEAN CRUISE LINE, INC.,
  CELEBRATION CRUISE LINE
  MANAGEMENT, INC., and CELEBRATION
  CRUISE LINE, LLC,

        Defendants.
  _____________________________________/

                                               ORDER

         THIS CAUSE is before the Court upon a sua sponte review of the record. The Court

  administratively closed this case pursuant to a Notice of Settlement filed by Plaintiffs, and

  ordered that the parties “file a Stipulation for Final Order of Dismissal or other appropriate

  dismissal papers on or before September 2, 2016.” ECF No. [159]. As of the date of this Order,

  the parties have not complied. It is therefore

         ORDERED AND ADJUDGED that the parties must comply with the Court’s Order,

  ECF No. [159], by September 9, 2016.

         DONE AND ORDERED in Miami, Florida this 6th day of September, 2016.




                                                    BETH BLOOM
                                                    UNITED STATES DISTRICT JUDGE

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  Counsel of Record




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